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Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTSERN DISTRICT OF NEW YORK

In re:
                                                           Chapter 11
ROCHESTER DRUG CO-OPERATIVE, INC.
                                                           Case No. 20-20230 (PRW)
                             Debtors.
                                                           (Jointly Administered)


Advisory Trust Group, LLC, as trustee of the RDC
LIQUIDATING TRUST,                                         Adv. Proc. No. 22-02030

                             Plaintiff,

         v.

RB HEALTH (US) LLC; RECKITT BENCKISER
LLC,

                             Defendants.


                                  NOTICE OF DISMISSAL

         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, as made applicable herein by Rule 7041 of the Federal Rules of Bankruptcy

Procedure, Plaintiff, Advisory Trust Group, LLC, as trustee of the RDC Liquidating Trust,



DOCS_LA:342557.1 75015/003
     Case 2-22-02030-PRW, Doc 4, Filed 02/24/22, Entered 02/24/22 18:52:36,
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hereby dismisses, with prejudice, its Complaint against RB Health (US) LLC and Reckitt

Benckiser LLC (the “Defendants”) in the above-captioned adversary proceeding. The

Defendants have not filed an answer, responsive pleading, or motion for summary judgment in

this adversary proceeding.


 Dated: February 24, 2022                       PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Ilan D. Scharf
                                                Bradford J. Sandler (NY Bar No. 4499877)
                                                Ilan D. Scharf (NY Bar No. 4042107)
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